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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )
                                             )
             v.                              )                 8:05CR274
                                             )
ROSIO CRUZ,                                  )                   ORDER
                                             )
                    Defendant.               )
                                             )


       This matter is before the court on the motion to continue trial filed by Rosio Cruz
[38]. The court file shows that the original October 24, 2005 trial date was vacated by the
September 23, 2005 order [37], which provided that a trial date would be set by further
order of the court.

      In clarification, the October 24, 2005 trial date has, in fact, been cancelled, and
defendant Cruz' pending motions for Relief from Joinder and for Separate Trials [34] and
Motion to Inspect Video and Sound Equipment [35] are scheduled for an evidentiary
hearing on October 25, 2005 at 1:30 p.m.

       IT IS ORDERED that the motion to continue trial [38] is denied as moot.

       DATED October 21, 2005.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
